EXHIBIT J
                                         MINUTES
                               Fairfax County Electoral Board
                                      August 15, 2024

        The Fairfax County Electoral Board (Board) met on Thursday, August 15, 2024, in
Conference Room 315 at the Fairfax County Government Center located at 12000
Government Center Parkway, Fairfax. Chairman Hon. Katherine K. Hanley; Vice Chairman
Jeffrey K. Shapiro; Secretary Amb. (ret.) Christopher P. Henzel; General Registrar Eric L.
Spicer; Deputy Director Cheryl Jones; and Clerk to the Electoral Board Beth Dixon
Methfessel were present.

         Election Manager Ravi Udeshi; Deputy Registrar for Voter Registration Bushra
Ardalan; Deputy Registrar for Absentee Voting Sean Stewart; Voting Equipment and
Logistics Manager Tyrone Allen; Training and Operations Manager Sean Rogers; Election
Officer Manager Gretchen Coleman; Supply Manager Kay Garrison; IT Business Analyst
George Panagakos; Bill Turley ((Office of Elections (Office) staff); Christine Brim (Fairfax
County Republican Committee (FCRC) Election Integrity Task Force); Patricia O’Brien and
Barbara Palmer-Tengs (members FCRC); Judith Helein and Maggi Luca (League of Women
Voters (LWV) – Fairfax); and Laurel May (Fairfax County election officer and/or resident of
Fairfax County).

       The following individuals participated using the Zoom videoconferencing platform:
Human Resources Manager Yoon Choi-Lee; Deputy Registrar for Voter Satellite Offices
Florence Brown; Financial Specialist Teresa Maza; Office staff and/or rovers Nazila Arefi,
Steve Barch, Judy Clardy, Ann Hines, Lisa Hogle, B. Gissell Jimenez, Gary Klinger, Abigale
Peters, Todd Strelow, Jerald Taylor, Jean Thoensen, and Fily Vilasanta; Maria Vorel (FCDC
Precinct Operations); Megan Challender (FCDC Election Law and Voter Protection); Arina
van Breda (Director, Voter Registration and Voter Information LWV - Fairfax); and Mark
Beale, Phyllisa Goldenberg, and Claudia Stallings (Fairfax County election officers and/or
residents of Fairfax County or neighboring jurisdictions).

       Ms. Hanley called the meeting to order at 4:00 p.m. and introduced the Board. Mr.
Shapiro moved approval of the agenda, and the motion passed by a vote of 3-0.

       Mr. Henzel moved to adopt the Draft Minutes of the Board meetings held on June 10,
2024, and June 19, 2024. By a vote of 3-0, the Minutes of the Board meetings held on June
10, 2024, and June 19, 2024, were adopted.

        Mr. Shapiro made a motion to appoint 377 election officers (EO) (150 Democrats, 96
Republicans, and 131 Unaffiliated) for a term ending February 28, 2025. The motion passed
by a vote of 3-0.

        Under the General Registrar’s (GR) report dated August 13, 2024 (attached and made
a part of this record), Ms. Jones presented the General Registrar’s report and updated the voter
registration numbers since the last Electoral Board meeting:
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Voter Registration



 Registered Voters                             As of 6/1             As of 7/31       Change
                                                                                      from 5/31
 Active Registered Voters                       736,461                 723,604        -12,857
 Inactive Registered Voters                         64,426               81,087       +16,661
 Total                                          800,887                 804,691        +3,804


 Active Voter Registration Subtractions                 6/1 – 7/31            Year-to-Date 2024
 (Cancellations and Transfers Out)                                              (1/1 to 7/31)
 Deceased (multiple sources)1                                1,086                  3,111
 Out-of-State (multiple sources)2                            2,613                  4,029
 Declared Non-Citizen (from ELECT)                            46                    182
 Declared Mentally Incapacitated (from Court)                 12                     35
 Felony Conviction (from ELECT)                               9                     104
 Voter Request (paper form from voter)                        81                    223
 Transfer Out to Another Jurisdiction in VA                  3,738                  10,835
 Other Subtractions (administrative error, other)                  12                37
 Total Cancellations and Transfers                           7,597                  18,556


                                                             6/1 – 7/31       Year-to-Date 2024
 Active Voter Registration Additions                                            (1/1 to 7/31)
 New Voter Registrations (multiple sources)                    7,663                23,740
 Transfer In from Another Jurisdiction in VA                    3,695               9,535
 Other Additions (reactivated, reinstated, other)               1,680               3,780
 Total                                                        13,038                37,055

 Voter Registration Transactions3                                             Year-to-Date 2024
 (includes transactions that result in additions,            6/1 – 7/31          (1/1 to 7/31)
 subtractions, and no change)
 Online DMV (from ELECT)                                      43,213               123,159
 Online Citizen Portal (from ELECT)                            8,852                17,981
 Online Third-Party DMV Verified (from ELECT)                     660               1,297
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    Va. Paper Form Third Party (delivered to the                437
                                                                                    3,439
    office)
    Va. Paper Form In-Person (office walk-ins, new              339                 1,092
    citizen ceremonies, at polling locations)
    Va. Paper Form by Mail (delivered to the office)            604                 1,965
    Federal Post Card Application (multiple sources)           1,007                1,725
    National (EAC) Paper Form (delivered to the                 174
                                                                                     436
    office)
    Same Day Registration (office or voting locations)          229                 1,301

1
  Deceased (multiple sources) includes: Bureau of Vital Statistics through ELECT, Report of Death
information provided by relative, Death Certificate provided, and General Registrar Report of Death
created based on an obituary
2
  Out-of-State (multiple sources) includes: DMV, State mail, NCOA, and other voter registration
update forms
3
  All categories include: new voter registrations, change of address, change of name, voter
cancellations (including out-of-state), and duplicates (no change of data)

        Ms. Ardalan confirmed for Ms. Hanley that the same day registrations from the June
primary elections are included in the current voter registration numbers. Ms. Ardalan
indicated that 174 applications were submitted from federal agencies and 604 from state
agencies in response to Mr. Henzel’s query as to the number of voter registration applications
received outside of DMV. Mr. Henzel expressed concern over the ease of acquiring an FCPA
and suggested that any spikes in the number of these registrations should be monitored. Mr.
Shapiro agreed and commented that the breakdown of the sources of voter registrations is
more useful and user-friendly.

        The Department of Elections (ELECT) sent a National Confirmation of Address
(NCOA) mailing to 23,281 Fairfax County voters on June 10, 2024. As of August 12, the Office
received a total of 6,501 pieces of mail from the confirmation mailing, including 3,293 pieces
returned undeliverable and 3,208 responses from voters that required action. A total of 16,231
voters were changed to an “Inactive” status because their confirmation mailing was returned
undeliverable, or they did not respond within 30 days. The NCOA mailing not only affects
registration, but also the permanent absentee list. Voters on the permanent absentee (PAB) list
who did not respond within the 30-day requirement were removed. Based on this legal
requirement, staff manually cancelled 912 permanent absentee applications. If a forwarding
address was available, staff sent an additional address confirmation request to the voter.

       As of August 12, 68,137 absentee ballot applications have been approved for the
November 2024 General and Special Elections (November General Election). This includes
59,482 permanent applications, 3,144 applications from overseas and military voters, and 5,511
one-time applications. Ms. Jones confirmed for Mr. Shapiro that voters either request to be on
the permanent absentee ballot list when they register to vote or they have responded to one of
the two mailings sent by the Office confirming their continued inclusion on the list. If a voter
moves out of Fairfax County, their permanent absentee status is removed.

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        Ms. Hanley observed that many Inactive voters will cast a ballot in November because
they only come to the polls for the presidential election. Mr. Udeshi explained that Inactive
voters are required to sign an Affirmation of Eligibility declaring that they still reside at the
address shown in the pollbook. They will be added to the pollbook by the EO and permitted to
vote.

         Mr. Shapiro asked for clarification on the statement (pg. 4, para 4) “…ELECT reminded
all general registrars that individuals on the list of registered voters may not be challenged
because they moved out of a jurisdiction or out of the state.” Mr. Henzel explained that ELECT
follows a legal process for cancelling the registration of voters who move out of the jurisdiction
or out of the state and it does not include the option for registered voters to challenge their
eligibility based on relocation.

   The following precinct and polling places changes were approved by the Board of
Supervisors on June 25, 2024:
   • The name of Woodson #1 and Woodson #2 precinct’s polling place changed from W.
       T. Woodson High School to Carter G. Woodson High School.
   • The name of Huntley precinct’s polling place changed from St. John Mark’s Episcopal
       Church to St. Martin de Porres Episcopal Church.
   • The name of Island Pond precinct’s polling place changed from Oak Marr Recreation
       Center to Oakmont Recreation Center.
   • Relocation of the polling place for Greenspring precinct from Village Square to the
       Conference Center.*
   • Consolidation of the Hummer and Woodburn precincts.*
   • Removal of the Gerry Hyland Governmental Center as a voter satellite office.*
*The Request for Certification of No Objection for the relocation of the Greenspring polling
place, the consolidation of the Hummer and Woodburn precincts, and the removal of the Gerry
Hyland Governmental Center as a voter satellite office was submitted to the Attorney General
on July 12. Approval is expected by late August.

        Ms. Hanley corrected the name of the church for Huntley precinct from St. John’s to St.
Mark’s Episcopal Church. She also explained that the public hearing scheduled for July 30,
2024, to correct the address of the polling place for Clifton Town precinct, and to change the
name of the Providence Community Center to the Jim Scott Community Center, was cancelled
due to an advertising error. This public hearing will be held in December.

       The satellite hours of operation for the November General Election remain consistent
with past elections:

Fairfax County Government Center
Monday – Friday                               8 a.m. to 4:30 p.m.
Saturdays (9/21, 10/19, 10/26, 11/2)          9 a.m. to 5 p.m.
Sunday (10/27)                                1 p.m. to 5 p.m.

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Mount Vernon and North County Governmental Centers
Monday – Friday                      1 p.m. to 7 p.m.
Saturdays (9/21, 10/19, 10/26, 11/2) 9 a.m. to 5 p.m.
Sunday (10/27)                       1 p.m. to 5 p.m.

13 additional locations
Monday – Friday                               1 p.m. to 7 p.m.
Saturdays (10/19, 10/26, 11/2)                9 a.m. to 5 p.m.
Sunday (10/27)                                1 p.m. to 5 p.m.

        Under the Resource Allocation for the November General Election, each precinct will
receive ballots for at least 80% of active voters. Ballots for 85% to 100% of active voters for
the precincts that had the highest in-person turnout in past presidential elections will be ordered
as well as ballots for 85% of active voters for new precincts created because of redistricting.
Each precinct will receive three to six Poll Pads, two ExpressVote ballot marking devices, and
two DS200 ballot scanners. Each precinct will be assigned 9 to 17 election officers, including
two Provisional Specialist officers. They will help the Chief and Assistant Chief by performing
administrative duties related to provisional and SDR voters, including verifying each
provisional envelope is completed completely and accurately and properly logged.

         Ms. Hanley expressed concern about the accuracy of the current resource allocation.
She explained that the last two presidential elections were held in different circumstances. In
2020, voters were fearful of coming to the polls because of the pandemic. In 2016, the rules for
early voting did not include no-excuse absentee. Redistricting required significant changes to
precinct lines so the number of voters per precinct now may not be consistent for predicting the
number of voters in the precincts. She noted that in the past when a precinct ran low in ballots,
the ballot could be replenished from another precinct if the style was identical. Now results
must be reported by precinct, therefore, each precinct has its own distinct style, and the ballots
cannot be “shared.” Same-day registration is now available so people not counted in today's
registration numbers may come to the precinct to register and vote and will need a ballot. This
is likely in precincts with substantial change in residential units, for example areas along the
Dulles Corridor and in Tysons, or precincts with new retirement communities, like Woodleigh
Chase in Braddock District. She also expressed concern that the University precinct may run
low on ballots. George Mason is now the largest university in Virginia, and it will be hard to
predict how many students might register and vote on Election Day.

        Ms. Hanley moved that staff 1) follow spikes in voter registration including same day
registration during early voting at any precinct to ascertain if a ballot order adjustment is
warranted; and 2) prepare procedures, including security measures, to send the ballot on demand
equipment to any precinct on Election Day that may require additional ballots. If any dramatic
change in voter registration numbers occurs by October 15, adjustments to the resource
allocation should be made. After discussion, the motion passed by vote of 3-0.

       The following is the Logic and Accuracy testing schedule for the November General
Election:
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Tuesday, September 10 (9:00 a.m.) to September 11 (Fairfax Government Center, 12000
Government Center Parkway, Fairfax, VA) – Testing and setup of Poll Pads for early voting
satellite sites.
Thursday, September 12 (9:00 a.m.) to September 16 (Morrissette Warehouse, 8600
Morrissette Drive, Springfield, VA) – Testing of voting equipment and Ballot on Demand
systems for three 45-day early voting satellite sites.
Tuesday, September 24 (9:00 a.m.) to October 11 (Morrissette Warehouse, 8600 Morrissette
Drive, Springfield, VA) – Testing of voting equipment and Ballot on Demand systems for the
remaining 13 early voting satellite sites and all Election Day polling places.
Wednesday, October 9 (9:00 a.m.) to October 10 (Fairfax Government Center, 12000
Government Center Parkway, Fairfax, VA, Suite 339) – Testing of voting equipment that will
be used to count mail ballots.

Sunday, November 3 (9:00 a.m.) (Fairfax Government Center, 12000 Government Center
Parkway, Fairfax, VA, Suite 251) – Testing and setup of all Poll Pads for Election Day.

        Approximately 3,700 election officers will be assigned to serve in the precincts for the
November General Election. Mr. Henzel asked Mr. Udeshi for his estimation on assignment
parity between the two parties. Mr. Udeshi replied that in 2020 the percentage of assigned EOs
from the Democratic Party was 55% and the Republican Party 25%. He hopes to improve upon
these percentages for this election due to improved availability of EOs from both parties.

        Sarah Prowitt resigned as Communications Division Chief effective August 2 to take a
position with the federal government in Health and Human Services. Teresa Maza is resigning
from her position as Financial Specialist II effective August 23 to accept a promotional
opportunity with the county’s HR Department. After 13 years, Patricia Ferguson will retire on
September 6 from her position as VFOIA Manager. The Board thanked these talented
individuals for their dedicated service.

        Outreach efforts will include the palm card which advertises important deadlines, as well
as satellite voting locations, dates, and times. This resource will be provided at the public
libraries, Board of Supervisors’ offices, League of Women Voters, etc. The sample ballot mailer
is in production with an anticipated distribution date prior to the September 20 start of early
voting. This mailing will go out Return Receipt Requested. Any returned mailers with a
forwarding address will receive the Office’s follow-up address confirmation letter to allow for
more prompt action if the voter responds that they no longer reside in Fairfax County.

       There were no Electoral Board reports.

       Under New Business, Ms. Hanley reported that there is a new legal requirement requiring
Electoral Boards to certify that the polling places in their localities meet ADA requirements. In
Fairfax County, the rovers completed an accessibility survey for each polling place at either the
March Presidential Primary or the June Primaries. Follow-up inspections were conducted for
any location not receiving a 100% satisfactory response.
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Mr. Henzel made the following motion:

       “I move to approve ELECT’s ADA Compliance Confirmation that states all
       polling places in Fairfax County have been assessed for accessibility using an
       Americans with Disabilities Act (ADA) checklist provided either by the
       Virginia Department of Elections (ELECT) or by the U.S. Department of
       Justice (DOJ). The ADA checklist for each polling place has been filed and will
       be maintained within the records of the local electoral board in accordance with
       the Virginia Freedom of Information Act (§2.2-3700 et. seq.). Pursuant to
       §24.2-310(C), all polling places in Fairfax County are currently compliant with
       the requirements of the ADA (§42 USC 12132), the Voting Accessibility for the
       Elderly and Handicapped Act (§52 USC 20102), and the Virginians with
       Disabilities Act (§51.5-1 et seq.).

       The motion passed by a vote of 3-0.

        Under New Business, Claims of Non-Citizens Voting, Mr. Henzel said that he had
learned that the FCRC Election Integrity Task Force, using publicly available information,
had compiled a list of 66 registered voters who had voted, and later were identified by ELECT
as likely non-citizens through routine list maintenance. He noted that ELECT says it identifies
such voters based on information it receives from sources that include DMV and the federal
SAVE (Systematic Alien Verification for Entitlements) program. Local election offices
receive instructions from ELECT to send a form to the last known address of these voters to
give them an opportunity to affirm their citizenship. If no response is received within 14 days,
the voter is removed from the rolls. Mr. Henzel asked staff if this information is accurate, and
staff confirmed that all these individuals had voting records. Mr. Henzel commented that his
understanding was that many of these individuals are citizens who inadvertently checked the
wrong box or did not check any box for the citizenship question on the DMV website.
Although the local election offices have “no way of knowing” how the individual answered
the DMV citizenship question, he believes ELECT might have more information. He stated
that he is uncomfortable assuming that it is “all innocent” and was concerned that it is not
clear who has responsibility for investigating to determine whether someone had broken the
law. In the light of the Governor’s Executive Order (attached and made a part of this record),
he urged the General Registrar to send a communication to the Attorney General of the
Commonwealth noting that these cases were flagged and encouraging the Attorney General
to use its authority and investigative resources to review them.

        Mr. Spicer responded that of the 66 individuals, 17 confirmed their citizenship and re-
registered within the 14-day requirement. The remaining 49, however, did not and were
removed from the rolls. After consulting with the County Attorney’s Office, Mr. Spicer stated
he has a duty to refer non-citizens who have voted and proposed referring the names of these
49 individuals who appear to be non-citizens who voted to the Commonwealth’s Attorney,
the Attorney General of Virginia, and to ELECT. To further ensure the integrity of the voter
rolls, he proposed developing procedures that would refer Fairfax County’s list on apparent
non-citizens who had voted to these three offices monthly. Mr. Shapiro agreed and
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commented that when staff receives information that suggests a non-citizen has voted, “we
have an obligation to do something other than just take them off the list.” He added that the
procedures developed should treat everyone equally who meets the criteria for inclusion on
the ‘apparent non-citizen voter’ list. Ms. Hanley remarked that “the law does seem clear that
the registrar should refer these 49 to the Commonwealth’s Attorney.”

        Mr. Shapiro moved that the General Registrar draft a policy for referral of potentially
false claims of citizenship where people have voted, to be presented at the next board meeting.
The motion passed by a vote of 3-0.

       Mr. Shapiro moved that in conjunction with ELECT, the General Registrar review the
Governor’s Executive Order 35 (2024) to draft a plan that includes developing a notice
regarding election-related offenses and determining where it can legally be distributed. Mr.
Spicer was also to consult with ELECT to learn whether they are developing a uniform
approach for all counties, in which case it would not be necessary for Fairfax County to
develop its own notice. This draft will be reviewed at the next Board meeting. The motion
passed by a vote of 3-0.

        Under Public Comments, Ms. Hanley reminded the public that comments are limited
to three minutes. The Board may provide the information; however, if more research is
required, the Board may defer an answer. The Board may also request a written submission
of the comment or inquiry.

        Ms. Brim requested that in the Voter Registration section of the General Registrar’s
Report, separate categories be created for the NVRA data accounting of the number of voter
registrations by discretionary state-designated agencies and third-party voter registration
drives. Ms. Brim also requested that going forward, the General Registrar report, based on
research, include the number of self-declared non-citizens who have voted. The Board will
consider this request after the reviewing the draft policies presented at the next meeting.

        Mr. Brandon commented on the higher state-wide rejection rate of returned absentee
ballots due to failure to provide the last four digits of the social security number or the year
of birth. He hopes there will be more education on how to properly complete an absentee
ballot to reduce the number of rejections. Ms. Jones replied that each absentee ballot is sent
with a comprehensive set of instructions that includes a screen shot of a properly completed
envelope. There is also a cure process for voters to submit any missing information. Mr.
Shapiro commented that the Office has an incentive to educate voters because it creates more
work on the backend to follow-up on returned absentee ballots with missing information. Ms.
Jones added that a video on how to properly complete an absentee ballot will be available on
the Office’s website and on Fairfax Votes.

        Mr. Brandon mentioned the challenges affecting mail delivery at the Richmond Post
Office. Mr. Stewart explained that the postmaster in Fairfax goes above and beyond to ensure
that election mail coming through Merrifield is handled efficiently. The Fairfax post office
also makes additional trips to the Government Center to ensure the timely delivery of election
mail. Additionally, as the November General Election approaches, Office staff will make trips
to the post office to pick up election mail.
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         Mr. Brandon asked about the ease of voting for returning military personnel. Ms.
Jones explained that if they received an absentee ballot, they will be marked as an absentee
voter. If they return the ballot, they can vote routinely. If not, they can vote provisionally. Ms.
Hanley confirmed for Mr. Brandon that although Veteran’s Day falls on Monday, the time for
certifying the election has been extended three days and is now the second Friday after the
election.

       Mr. Henzel moved to adjourn. The motion carried, and without objection, the meeting
was adjourned at 5:37 p.m.


Attachments


                                               _________________________________
                                                Hon. Katherine K. Hanley, Chairman


                                               __________________________________
                                               Jeffrey K. Shapiro, Vice Chairman


                                               __________________________________
                                               Amb. (ret.) Christopher P. Henzel, Secretary




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